Case 1:18-cv-20771-FAM Document 16-1 Entered on FLSD Docket 05/01/2018 Page 1 of 3




                              Exhibit 1
Case 1:18-cv-20771-FAM Document 16-1 Entered on FLSD Docket 05/01/2018 Page 2 of 3



                              IN THE UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 18-CV-20771-FAM


   CORINNE PICCINETTI,

           Plaintiff,

   v.

   MSC CRUISES, S.A.,

         Defendant.
   ________________________________________/

                                DECLARATION OF RYAN ALLAIN

   I, Ryan Allain, declare:

           1.!     I am over 18 years of age, and I am the Corporate Representative of MSC Cruises,

   S.A..

           2.!     I have personal knowledge of the matters set forth herein.

           3.!     The decking materials that makes up the majority of the deck area of the exterior

   portion of Deck 14 of the MSC Divina is Bolidt.

           4.!     MSC Cruises, S.A. did not install the Bolidt on Deck 14 of the MSC Divina.

           5.!     The Bolidt on the external portion of Deck 14 of the MSC Divina is permanently

   attached to the underlying steel deck, and provides a watertight barrier.

           6.!     If a section of the exterior portion of Deck 14 were to be removed, the resulting

   hole would cause the MSC Divina to fall out of compliance with International Convention for the

   Safety of Life at Sea (SOLAS).

           7.!     Upon repair, the MSC Divina would require inspection by the Classification

   Society.
Case 1:18-cv-20771-FAM Document 16-1 Entered on FLSD Docket 05/01/2018 Page 3 of 3
